
925 N.E.2d 1172 (2010)
PEOPLE State of Illinois, respondent,
v.
Kevin CURRIE, petitioner.
No. 109247.
Supreme Court of Illinois.
March 24, 2010.
Petition for leave to appeal denied.
In the exercise of this Court's supervisory authority, the Appellate Court, First District, is directed to vacate its order in People v. Currie, case No. 1-07-2748 (09/11/09). The appellate court is directed to reconsider its judgment in light of People v. Tidwell, 236 Ill.2d 150, 337 Ill.Dec. 877, 923 N.E.2d 728 (2010), and People v. Morris, 236 Ill.2d 345, 338 Ill.Dec. 863, 925 N.E.2d 1069 (2010), to determine whether a different result is warranted.
